                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )        No.3:21-CR-38
V.                                                )
                                                  )
                                                  )
BENJAMIN CARPENTER                                )



                       ORDER OF TEMPORARY DETENTION
                PENDING HEARING PURSUANT TO BAIL REFORM ACT


              The defendant appeared before the undersigned for an initial appearance on an

indictment. Assistant United States Attorney Casey Arrowood was present representing the

government. Federal Defender Benjamin Sharp was present on behalf of the Defendant. The

government moved for detention. A detention hearing will be scheduled at a later time. The

defendant acknowledged and agreed that she would remain in detention. The defendant shall be

held in custody by the United States Marshal until the detention hearing, and produced for the

above scheduled hearing.

              ENTER:


                                    s/ Bruce Guyton
                                    Bruce Guyton
                                    UNITED STATES MAGISTRATE JUDGE




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